This action having been decided in the municipal court of the city of Los Angeles, an appeal was taken to the superior court, wherein judgment was rendered in favor of the plaintiffs, and the defendant Dolfin thereafter appealed to this court from said judgment. [1] The respondents moved to dismiss this appeal upon the ground that under the provisions of section 4b, article VI, of the Constitution, effective November 6, 1928, the superior court became the tribunal of final jurisdiction in such cases. However, the appeal last mentioned was perfected prior to *Page 741 
said date, hence the motion is without foundation. (Harris v.Moore, 102 Cal.App. 413 [283 P. 76]; Jones v. Summers,105 Cal.App. 51 [286 P. 1093]; Berg v. Traeger, 210 Cal. 323
[292 P. 495]; D.Q. Service Corp. v. Securities Loan  D.Co., 210 Cal. 327 [292 P. 497].)
The motion to dismiss the appeal is denied.
Works, P.J., and Thompson (Ira F.), J., concurred.